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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                   CHARLESTON DIVISION


THE KAY COMPANY, et al.,

                               Plaintiffs,

v.                                                     CIVIL ACTION NO. 2:06-cv-00612

EQUITABLE PRODUCTION CO.,

                               Defendant.


                                  FINAL JUDGMENT ORDER

        In accordance with the Memorandum Opinion and Final Order Approving Settlement and

Certifying the Settlement Class, the court hereby DISMISSES THE ACTION WITH

PREJUDICE and with costs to be awarded solely as provided in the Second Amended Settlement

Agreement and approved by this court at a later date, except that (a) the claims of the excluded

Class Members listed in “Exhibit A” hereto shall be dismissed without prejudice; and (b) the

court shall retain jurisdiction to the extent necessary to administer and enforce the Final Settlement

Agreement (“Agreement”) consisting of the Second Amended Settlement Agreement as adopted in

the accompanying Memorandum Opinion and Final Order Approving Settlement and Certifying the

Settlement Class. The court BARS AND ENJOINS all Class Members from asserting Royalty

Claims arising from the period covered by this settlement against any Released Party, as those terms

are defined in the Agreement, with the exception that excluded Class Members’ claims shall not be

barred and enjoined. The court ORDERS that the Class Members’ Royalty Claims against the

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Released Parties are released through the Effective Date, December 8, 2008, with the exception that

excluded Class Members’ Royalty Claims shall not be released.            The court DECLARES,

ADJUDGES, AND DECREES that this Agreement provides the exclusive remedy for Class

Members (and any successors-in-interest) with respect to any and all Royalty Claims against the

Released Parties that were or could have been brought in this action.           The court further

DECLARES, ADJUDGES, AND DECREES that any excluded Class Member may bring a

separate suit. The court CERTIFIES under Federal Rule of Civil Procedure 54(b) that there is no

just reason for delay and therefore expressly directs the entry of a final judgment as to the claims

of Class Members, except with respect to the Royalty Claims of excluded Class Members. The court

RESERVES its continuing and exclusive jurisdiction over the Parties and Class Members to

administer, supervise, construe, and enforce the Agreement in accordance with its terms for the

mutual benefit of the Parties and Class Members. Specifically, the court RESERVES its continuing

and exclusive jurisdiction over the Parties and Class Members to approve fee awards as provided

in the Agreement. Class Counsel has filed a Motion for Award of Attorney Fees, Incentive Awards

for Class Representatives, and Reimbursement of Expenses [Docket 215] which is currently under

advisement and will be resolved at a later date.

       Finally, the court ORDERS that the Bar Date shall be ninety days following the mailing of

the benefit notices and claim forms. Class Members shall have ninety days after the claim form is

mailed to return a completed claim form to the Claims Administrator either confirming or disputing

the content of the claim form.




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       The court DIRECTS the Clerk to send a copy of this Order to counsel of record and any

unrepresented party.

                                                  ENTER:       April 28, 2010




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